Case 3:18-Cr-02442-D|\/|S Document 18 Filed 06/15/18 Pa'

 

UNITED sTATEs DISTRICT CoURr JUN 15 2013

SOUTHERN DISTRICT OF CALIFORNIA
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B¥ Wz€/ cs cAHFORNrA

UNITED STATES OF AMER_ICA,

Plaintiff,

VS .
DANIEL FRANCISCO BELTRAN-AVILA,

Defendant.

 

 

 

DEPU`T'Y

 

CASE NO. lSCR2442-DMS

JUDGMENT OF DISMISSAL

IT APPEARING that the defendant is now entitled to be discharged for the reason that:

motion of the Government for dismissal of this case, Without prejudice; or

the Cou;rt has dismissed the case for unnecessary delay; or

X the Court has granted the motion of the Government for dismissal Without prejudice; or

the Court has granted the motion of the defendant for dismissal/ judgment of acquittal; or
a jury has been Waived, and the Court has found the defendant not guilty; or

the jury has returned its verdict, finding the defendant not guilty;

X of the offense(s) as charged in the Information:

18 U.S.C. 1326(20. (bl

IT IS TI-IEREFORE ADJUDGED that the defendant is hereby discharged

DATED: JUNE 15, 2018

Hon. DANA M. SABRAW
UNITED STATES DISTRICT JUDGE

an indictment has been filed in another case against the defendant and the Court has granted the

 

 

